
689 So.2d 1265 (1997)
O.M., A Child, Appellant,
v.
STATE of Florida, Appellee.
No. 96-3404.
District Court of Appeal of Florida, First District.
March 19, 1997.
Louis O. Frost, Jr., Public Defender, and Ward L. Metzger, Assistant Public Defender, Jacksonville, for Appellant.
Robert A. Butterworth, Attorney General, Giselle Lylen Rivera, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
The appellant was adjudicated delinquent for committing the offense of battery on a school board employee. The Department of Juvenile Justice had filed a predisposition report recommending that the appellant be placed on community control, but the trial court rejected the recommendation and imposed a low risk commitment without receiving a further recommendation from the department as to restrictiveness level. This was error. In S.R. v. State, 683 So.2d 576 (Fla. 1st DCA 1996), we held that "section 39.052(4)(e)2, Florida Statutes, unequivocally requires the court to receive and consider a recommendation from the Department as to restrictiveness level before ordering commitment." Consequently, we reverse the order of commitment and remand this case for further proceedings. On remand, the trial court should follow the procedure dictated by section 39.052(4)(c), Florida Statutes.
Reversed and Remanded.
MINER, ALLEN and PADOVANO, JJ., concur.
